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 5                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WASHINGTON
 6
 7     UNITED STATES OF AMERICA,                )
                                                )    No. CR-09-6039-WFN-2
 8                      Plaintiff,              )
                                                )    ORDER GRANTING UNOPPOSED
 9     v.                                       )    MOTION TO MODIFY CONDITIONS
                                                )    OF RELEASE
10     HUGO ALBERTO MEDINA-HERNANDEZ,           )
                                                )
11                      Defendant.              )
                                                )
12                                              )

13          Before the court is Defendant’s Unopposed Motion to Modify the

14    Order Setting Conditions of Release.

15          IT IS ORDERED that Defendant’s Motion (ECF No. 464) is GRANTED.

16    The Order Setting Conditions of Release is modified by removing the

17    conditions set forth in Condition of release No. 29 including

18    electric monitoring. All the other terms and conditions the Order

19    Setting Conditions of Release shall remain the same.

20          DATED May 16, 2011.

21
22                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
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      ORDER GRANTING UNOPPOSED MOTION TO MODIFY CONDITIONS OF RELEASE - 1
